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                        IN THE UNITED STATES DISTRICT COURT

                    FOR THE DISTRICT OF UTAH, CENTRAL DIVISION

FEDERAL DEPOSIT INSURANCE
CORPORATION as Receiver for SunFirst                 ATTORNEY’S PLANNING
Bank,                                                MEETING REPORT

       Plaintiff,

v.                                                   Case No. 2:13-cv-00219-EJF

STEVE M. HEATON, an individual,                      Magistrate Judge Evelyn J. Furse

       Defendant.

I.     PRELIMINARY MATTERS:

       a.      The nature of the claims and affirmative defenses is:

               i.     Description of Action:

                      Plaintiff, the FDIC, appearing in this matter in its receivership capacity as

               Receiver for SunFirst Bank (“SunFirst”) asserts that Defendant has failed to

               repay, or otherwise perform, under a certain Business Loan Agreement and

               Promissory Note executed by Defendant and Defendant asserts that it is not

               obligated to repay SunFirst or the FDIC in its capacity as Receiver for SunFirst,

               for the reasons set forth, and asserted as affirmative defenses, in its Answer.




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  b.    This case is   _____not referred to a magistrate judge

                       _____referred to magistrate judge:

                              ______under 636(b)(1)(A)

                              ______under 636(b)(1)(B)

                          X assigned to a magistrate judge under General Order 07-001

                              and

                                       all parties consent to the assignment for all

                                       proceedings or

                                    X one or more parties request reassignment to a district

                                       judge

  c.    Pursuant to Fed. R.Civ.P. 26(f), a meeting was held telephonically on May 8,

        2013.

        The following were in attendance:

                Heath H. Snow, Bingham Snow & Caldwell, LLP counsel for Plaintiff

                Federal Deposit Insurance Corporation as Receiver for SunFirst Bank;

                Erik A. Olson, Olson Law, P.C.; counsel for Defendant Steve M. Heaton.

  d.    The parties _____ request /      X     do not request an initial pretrial scheduling

        conference with the court prior to entry of the scheduling order.

  e.    The parties _____ have exchanged or X will exchange by 06/12/13 the initial

        disclosures required by Rule 26(a)(1).

  f.    Pursuant to Fed. R. Civ. P. 5(b)(2)(D), the parties agree to receive all items

        required to be served under Fed.R.Civ.P. 5(a) by either (i) notice of electronic

        filing, or (ii) e-mail transmission. Such electronic service will constitute service




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                 and notice of entry as required by those rules. Any right to service by USPS mail

                 is waived.

II.      DISCOVERY PLAN: The parties jointly propose to the court the following discovery

         plan:

         a.      Discovery is necessary on the following subjects:

                 1.     Plaintiff: All claims and causes of action set forth in the Complaint.

                 2.     Defendant: All claims and causes of action set forth in the Complaint and

                        Defendant’s affirmative defenses.

         b.      Discovery Phases: Discovery will not be conducted in phases.

         c.      Discovery methods to be used and the limitations to be imposed: In accordance

         with the Federal Rules of Civil Procedure.

III.     AMENDMENT OF PLEADINGS AND ADDITION OF PARTIES:
         a.      The cutoff dates for filing a motion to amend pleadings are:

                 Plaintiff(s): 08/12/13   Defendant(s): 09/09/13

         b.      The cutoff dates for filing a motion to join additional parties are:

                 Plaintiff(s): 08/12/13   Defendants(s): 09/09/13

IV.      EXPERT REPORTS:

                 Reports from experts under Rule 26(a)(2) will be submitted on:

                 Plaintiff(s): 03/03/14

                 Defendant(s): 05/05/14

V.       OTHER DEADLINES:

         a.      Discovery cutoff: Fact: 02/03/14       Expert: 07/07/14

         b.      Deadline for filing dispositive or potentially dispositive motions and Daubert

                 motions is: 08/04/14



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VI.      ADR/SETTLEMENT:

         a.     The potential for resolution before trial is: ___ good    X fair    ____ poor

         b.     This case should be referred to the court's alternative dispute resolution program

                for arbitration: No     mediation: No

         c.     The case should be re-evaluated for settlement/ADR resolution on:

                08/04/14

VII.     TRIAL AND PREPARATION FOR TRIAL:

         a.     The parties should have 14 days after service of final lists of witnesses and

         exhibits to list objections under Rule 26(a)(3).

         b.     This case should be ready for trial by: 10/01/14

         c.     Specify type of trial: Jury         Bench   X

         d.     The estimated length of the trial is: 2-3 days.


/s/ Heath H. Snow                                      Date: 05/09/2013
Heath H. Snow, Counsel for FDIC
/s/ Erik A. Olson*                                     Date: 05/09/2013
Erik A. Olson, Counsel for Steve M. Heaton

*signed electronically by filing attorney with permission




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